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 1
                                             PROPOSED
 2
                       ORDER AND FINDINGS OF FACT IN SUPPORT OF
 3
                               EXTENSION OF TIME TO INDICT
 4
      1. Pursuant to D. Ariz. General Orders 20-12, 20-20, 20-26, 20-27, and 20-35 all grand
 5
         jury proceedings have been suspended in the District of Arizona since March 16,
 6
         2020.
 7
      2. The last day and time that a grand jury was in session in the District of Arizona was
 8
         March 11, 2020 at 3:19 p.m.
 9
      3. General Order 20-35 (issued September 11, 2020) has extended the suspension of
10
         grand jury proceedings until on or after September 21, 2020.
11
      4. Due to the effect of the public health recommendations on the ability of grand jurors,
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         counsel and witnesses to be present in the courtroom in light of the recent outbreak
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         of Coronavirus Disease 2019 (COVID-19) and the well-documented concerns
14
         surrounding this virus, the time period for presentment to the grand jury in this case
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         will need to be extended further. Fed. R. Crim. P. 6(a)(1) requires a grand jury to
16
         have between 16 and 23 members. On June 12, 2020, the CDC issued guidance for
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         protocols that should be implemented to mitigate the spread of COVID-19 in public
18
         gatherings.   General Order 20-27 recognizes the need for such protocols to be in
19
         place before grand jury proceedings can safely resume in the District of Arizona.
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         Pursuant to General Orders 20-12, 20-20, 20-26, 20-27, and 20-35, the grand jury
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         will not be in session again in the District of Arizona until on or after September 21,
22
         2020. Based on the grand jury’s normal schedule, grand jury proceedings will not
23
         resume prior to September 22, 2020. Therefore, the time for presentment of this case
24
         to the grand jury will be extended for an additional 30 days. This 30-day period shall
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         be excluded under the Speedy Trial Act. The Court specifically finds that the ends
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         of justice served by ordering the extension outweighs the best interests of the public
27
         and any defendant’s right to a speedy trial, pursuant to 18 U.S.C. § 3161(h)(7)(A).
28
         In addition, pursuant to 18 U.S.C. § 3161(h)(7)(B)(i) and (iii), the Court finds that
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 1       a miscarriage of justice would result if time were not excluded under these unique
 2       circumstances, during which it is unreasonable to expect return and filing of the
 3       indictment within the time period specified in § 3161(b).
 4             Dated this _____ day of ______, 2020.
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                                                    ______________________________
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                                                           Eileen S. Willett
 7                                                     United States Magistrate Judge
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